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                           IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION


UNITED STATES OF AMERICA

       vs.                                          4:04-CR-161 (2) JMM

KENNETH RICHARD JANES


                                             ORDER


       The above named defendant appeared before the Court this date for a hearing on the

Motion to Withdraw Plea of Guilty. After witness testimony and arguments by counsel the Court

determined the motion should be granted.

       IT IS HEREBY ORDERED that the defendant’s Motion to Withdraw Plea of Guilty1 be,

and it is hereby, granted. The plea of guilty to Count 1 of the Superseding Indictment heretofore

entered on February 25, 2005 is hereby set aside.

       IT IS FURTHER ORDERED that the dismissal of Counts 2, 3 and 4 of the Superseding

Indictment be set aside.

       Counts 1, 2, 3 and 4 of the Superseding Indictment are hereby reinstated as to Kenneth

Richard Janes.

       The trial of this matter will be scheduled for May 1, 2006.

       Dated this 30th day of March, 2006.



                                                    ________________________________
                                                    UNITED STATES DISTRICT JUDGE

       1
           Doc. #52
